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U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

86 Chambers Street
New York, New York 10007

 

July 2, 2021
APPLICATION GRANTED
BY ECF .
The Honorable Judith C. McCarthy OMe OO BVI Crue De -
United States Magistrate Judge Hon. Judith C. McCarthy
Charles L. Brieant Jr. Federal Building and Courthouse FD. Body

300 Quarropas St.
White Plains, NY 10601

Re: Grunwald v. Bon Secours Charity Health Sys. Medical Group, P.C., No, 18
Civ. 3208 (NSR) (JCM)

Dear Judge McCarthy:

This Office represents defendant United States of America in the above-referenced case
brought by Esther Grunwald (“Plaintiff”) under the Federal Tort Claims Act (“FTCA”), 28 U.S.C,
§§ 1346, 2401, 2671-2680. I write respectfully to request an extension of the discovery schedule,
Dkt. No. 45. This is the Government’s first request for an extension, and counsel for Plaintiff
consents to this request.

The current schedule in this case requires the parties to complete non-expert depositions
by July 31, 2021, and all discovery by December 31, 2021. See Docket No. 45, fff 7, 14. Following
the last status conference held on April 12, the parties agreed that Plaintiff's deposition would be
taken remotely on June 22, 2021. On June 21, Plaintiff's counsel was informed that Ms.
Grunwald’s mother had passed away that evening, and Plaintiffs counsel promptly informed the
Government that the deposition would need to be rescheduled. Due to the mourning period and
the schedules of counsel, the deposition has been rescheduled for July 27, 2021. However, this
rescheduled date does not leave sufficient time in the schedule for any additional depositions that
may be necessary in light of Plaintiff's deposition.

Accordingly, the Government requests, and Plaintiff consents to, an extension of the
deadline for non-expert depositions from July 31, 2021, to September 30, 2021, along with a
corresponding extension of the deadline for the completion of all discovery from December 31,
2021, to February 28, 2022. September 30 accommodates various scheduling concerns for counsel
as well as religious holidays for the Plaintiff.

 
